            Case 5:19-cv-06879-BLF Document 1-2 Filed 10/22/19 Page 1 of 58



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13 Attorneys for Defendants

14                             UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN JOSE DIVISION
17
     PALANTIR TECHNOLOGIES INC.,             CASE NO.: 5:19-cv-6879
18
                 Plaintiff,                  DEFENDANTS’ NOTICE OF REMOVAL OF
19                                           CIVIL ACTION UNDER 28 U.S.C. § 1441(A)
                                             (FEDERAL QUESTION)
20         v.
                                             EXHIBIT 1
21 MARC L. ABRAMOWITZ, in his individual
   capacity and as trustee of the MARC
22 ABRAMOWITZ CHARITABLE TRUST NO.
   2, KT4 PARTNERS LLC, and DOES 1
23
   through 50, inclusive,
24
                  Defendants.
25

26
27

28

     EXHIBIT 1 TO NOTICE OF REMOVAL                                   CASE NO. 5:19-CV-6879
10/21/2019            Case 5:19-cv-06879-BLF Document 1-2Details
                                                             Filed 10/22/19 Page 2 of 58




             Case Information

             16CV299476 | Palantir Technologies, Inc. v. Mark Abramowitz

             Case Number                              Court                             File Date
             16CV299476                               Superior Court of Santa Clara -   09/01/2016
                                                      Civil
             Case Type                                Case Status
             Breach of Contract/Warranty              Active
             Unlimited (06)




             Party

             Plaintiff                                Active Attorneys 
             PALANTIR TECHNOLOGIES INC.,              Lead Attorney
                                                      Hueston, John Charles
                                                      Retained

                                                      Work Phone
                                                      213-788-4340



                                                      Attorney
                                                      Von Der Ahe, Christina Marie
                                                      Retained

                                                      Work Phone
                                                      213-788-4340



                                                      Attorney
                                                      Kaba, Moez M
                                                      Retained



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                          1/57
10/21/2019             Case 5:19-cv-06879-BLF Document 1-2Details
                                                              Filed 10/22/19 Page 3 of 58
                                                      Work Phone
                                                      213-788-4340




             Other (Participant)                                     Active Attorneys 
             Superior Court of California County of Santa Clara      Lead Attorney
                                                                     Superior Court of CA, County
                                                                     of Santa Clara
                                                                     Retained




             Defendant
             ABRAMOWITZ, MARC L

              Aliases
              IA Trustee of the Marc Abramowitz Charitable Trust No. 2, KT4 Partners LLC


             Active Attorneys 
             Lead Attorney
             DiCanio, Jack Patrick
             Retained

             Work Phone
             650-470-4500




             Events and Hearings


                09/01/2016 Complaint (Unlimited) (Fee Applies) 


                Complaint

                  Comment
                  Complaint


                09/01/2016 Summons: Issued/Filed 


                Summons



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                         2/57
10/21/2019              Case 5:19-cv-06879-BLF Document 1-2Details
                                                               Filed 10/22/19 Page 4 of 58
                  Comment
                  Issued


               09/01/2016 Civil Case Cover Sheet 


               Civil Case Cover Sheet

                  Comment
                  Civil Case Cover Sheet


               09/01/2016 Notice 


               Notice

               Notice

                  Comment
                  Civil Lawsuit Notice (1st CMC set for 1/6/17 at 10am in D1; assigned to Judge Peter H. Kirwan)


               09/19/2016 Application: Pro Hac Vice 


               Application or Renewal to Appear Pro Hoc Vice

               Application or Renewal to Appear Pro Hoc Vice

               Application or Renewal to Appear Pro Hoc Vice

                  Comment
                  David Boies; supporting Decl of David Zifkin; Proposed Order


               09/19/2016 Application: Pro Hac Vice 


               Application or Renewal to Appear Pro Hoc Vice

               Application or Renewal to Appear Pro Hoc Vice

               Application or Renewal to Appear Pro Hoc Vice

                  Comment
                  John T. Zach; supporting Declaration of David Zifkin; Proposed Order


               09/23/2016 Complaint: Amended 


               Amended Complaint - Claim Amount Unchanged (No Fee)

               Proof of service

                  Comment
                  First Amended Complaint + POS Overnight Delivery


               09/30/2016 Order: Deeming Case Not Complex 


               Order Deeming Case Not Complex

                  Comment
                  ...and Complex Fee Refunded to Plaintiff - signed by Judge Peter H. Kirwan


               10/04/2016 Proof of Service: Summons DLR (Civil) 
https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                        3/57
10/21/2019            Case 5:19-cv-06879-BLF Document 1-2Details
                                                             Filed 10/22/19 Page 5 of 58
                  Comment
                  served kt4 partners, LLC


               10/04/2016 Proof of Service: Summons DLR (Civil)


               10/04/2016 Notice of Hearing (no fee) 


                  Comment
                  amended; 11-8-16, 9am, d.9


               10/04/2016 Proof of Service


               10/04/2016 Notice: Entry of Order


               10/04/2016 Proof of Service


               10/11/2016 Notice: Removal to Federal Court


               10/11/2016 Proof of Service: Mail


               10/21/2016 Hearing: Pro Hac Vice Counsel 


               Judicial Officer
               Kirwan, Peter

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Applicant: John T. Zach (for Plaintiff)


               10/21/2016 Hearing: Pro Hac Vice Counsel 


               Judicial Officer
               Kirwan, Peter

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Applicant: David Boies (for Plaintiff)


               11/08/2016 Reserved 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                4/57
10/21/2019            Case 5:19-cv-06879-BLF Document 1-2Details
                                                             Filed 10/22/19 Page 6 of 58
               Cancel Reason
               Vacated

               Comment
               Application of David Bois to Appear Pro Hac Vice for Plt Plantir Technologies (David Zifkin) Elena 310-752-
               2400 rta 10-4-16


               11/08/2016 Reserved 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Application of John T. Zach to Appear Pro Hac Vice for Plt Plantir Technologies (David Zifkin) Elena 310-752-
               2400 rta 10-4-16


               11/08/2016 Hearing: Pro Hac Vice Counsel 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Applications of David Boies and John Zach for Plt Palantir Technologies Inc. (Shira Liu) *Court Reporter Fee
               Due*


               01/03/2017 Conference: Case Management 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               1:30 PM

               Cancel Reason
               Vacated

               Comment
               [1st CMC] 1st Amended Complaint filed 9/26/16


               03/10/2017 Notice: Entry of Order


               03/14/2017 Removal to Federal Court Lifted 


                  Comment
                  Certified Civil Docket and Order Granting Mtn to Remand from US Court.



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                    5/57
10/21/2019            Case 5:19-cv-06879-BLF Document 1-2Details
                                                             Filed 10/22/19 Page 7 of 58

               03/20/2017 Motion: Leave 


                  Comment
                  to file a 2nd amended cmplt; memo p&a D. Zifkin 5/2/17, 9a, D9


               03/20/2017 Court Reporter Fee < 1 hour


               03/20/2017 Declaration: In Support 


                  Comment
                  of David Zifkin


               03/20/2017 Appendix 


                  Comment
                  of exhibits


               03/20/2017 Proof of Service


               03/24/2017 Clerk Rejection Letter 


                  Comment
                  amended pro hac vice appl - Original applications have not been filed.


               03/24/2017 Other 


                  Comment
                  Amended ntc of hrg re applicatinos of david boies & john t. zach to appear pro hac vice for plt Palantir
                  Technologiexs (David Boies) hrg 5/2/17 9am D-9


               03/24/2017 Proof of Service 


                  Comment
                  overnight (David Boies) hrg 5/2/17 9am D-9


               04/17/2017 Application: Pro Hac Vice 


                  Comment
                  Ntc and verified application of Nathaniel J Kritzer to appear as counsel pro hac vice for plt. 6/1/17 @
                  9am D9. Atty Zifkin.


               04/17/2017 Court Reporter Fee < 1 hour


               04/17/2017 Declaration: In Support 


                  Comment
                  Of David L Zifkin.


               04/17/2017 Proof of Service



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                  6/57
10/21/2019            Case 5:19-cv-06879-BLF Document 1-2Details
                                                             Filed 10/22/19 Page 8 of 58

               04/17/2017 Application: Pro Hac Vice 


                  Comment
                  Ntc and verified application of Jay P Lefkowitz to appear as counsel pro hac vice for plt. 6/1/17 @ 9am
                  D9. Atty Zifkin.


               04/17/2017 Court Reporter Fee < 1 hour


               04/17/2017 Declaration: In Support 


                  Comment
                  Of David L Zifkin.


               04/19/2017 Response/Reply 


                  Comment
                  to Plt's Motion for Leave to File a Second Amended Complaint by Defs (Jack P. DiCanio) 05/02/17
                  @9am D-9


               04/21/2017 Motion: Order 


                  Comment
                  for protective order governing the protection and exchange of confidential material. atty: David Zifkin
                  June 13, 2017 9am dept 9 mem of p's and a's, decl of Shira Liu


               04/21/2017 Court Reporter Fee < 1 hour


               04/21/2017 Index 


                  Comment
                  of Exhibits to declaration June 13,2017/9am/ dept 9


               04/21/2017 Proof of Service: Mail


               04/24/2017 Response/Reply 


                  Comment
                  in sup of mtn for leave to file SAC (David Boies) hrg 5/2/17 9am D-9


               04/24/2017 Proof of Service 


                  Comment
                  overnight (David Boies) hrg 5/2/17 9am D-9


               04/24/2017 Proof of Service 


                  Comment
                  overnight (David Boies) hrg 5/2/17 9am D-9


               04/28/2017 Application: Pro Hac Vice 

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                 7/57
10/21/2019            Case 5:19-cv-06879-BLF Document 1-2Details
                                                             Filed 10/22/19 Page 9 of 58
                  Comment
                  OF BARRY S. SIMON


               04/28/2017 Court Reporter Fee < 1 hour


               04/28/2017 Application: Pro Hac Vice 


                  Comment
                  OF JONATHAN B. PITT


               04/28/2017 Court Reporter Fee < 1 hour


               04/28/2017 Application: Pro Hac Vice 


                  Comment
                  OF STEPHEN L. WOHLGEMUTH


               04/28/2017 Court Reporter Fee < 1 hour


               04/28/2017 Notice 


                  Comment
                  of Unopposed Mtn for Admission Pro Hac Vice


               04/28/2017 Memorandum: Points and Authorities


               04/28/2017 Declaration: In Support 


                  Comment
                  OF IAN CHEN


               04/28/2017 Proof of Service: Mail


               04/28/2017 Notice 


                  Comment
                  of Unopposed Mtn for Admission Pro Hac Vice


               04/28/2017 Memorandum: Points and Authorities


               04/28/2017 Declaration: In Support 


                  Comment
                  OF IAN CHEN


               04/28/2017 Proof of Service: Mail


               04/28/2017 Notice 


                  Comment
                  of Unopposed Mtn for Admission Pro Hac Vice

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                8/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 10 of 58

               04/28/2017 Memorandum: Points and Authorities


               04/28/2017 Declaration: In Support 


                  Comment
                  OF IAN CHEN


               04/28/2017 Proof of Service: Mail


               05/02/2017 Minute Order


               05/02/2017 Motion: Leave to File 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               to file a Second Amended Complaint by Plt (David /zifkin)


               05/02/2017 Hearing: Pro Hac Vice Counsel 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               for John T. Zach by Plt Palantir Technologies (David Zifkin)


               05/02/2017 Hearing: Pro Hac Vice Counsel 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               by David Boies by Plt Palantir Technologies (David Zifkin)


               05/04/2017 Order 




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                               9/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 11 of 58
                  Comment
                  Plt's Motion for Leave to File Second Amended Complaint is Granted by Judge Arand


               05/05/2017 Proof of Service: Mail 


                  Comment
                  (overnight delivery) pos on amended ntc. of hrg re: verified pro hac vice appls.


               05/05/2017 Motion: Protective Order 


                  Comment
                  atty: Dicanio, 06/13/17 @ 9am, dept. 9


               05/05/2017 Memorandum: Points and Authorities


               05/05/2017 Declaration: In Support


               05/05/2017 Declaration 


                  Comment
                  Jonathan B. Pitt


               05/05/2017 Proof of Service: Mail


               05/05/2017 Court Reporter Fee < 1 hour 


                  Comment
                  atty: Dicanio, 06/13/17 @ 9am, dept. 9


               05/05/2017 Notice: Entry of Order


               05/05/2017 Complaint: Amended 


                  Comment
                  2nd amended atty Zifkin


               05/15/2017 Response/Reply 


                  Comment
                  Reply in support of Motion for a Protective Order and Opposition to Def's Motion for Protective Order by
                  Plt (David Zifkin) 06/13/17 @9am in D9


               05/15/2017 Declaration 


                  Comment
                  of Akash Jain in support of Plt's Reply in support of Mtoion for Protective Order adn Opposition to Def's
                  Motion for Protective Order


               05/15/2017 Declaration 




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                   10/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 12 of 58
                  Comment
                  of Shira R. Liu in support of Plt's Reply in support of Mtoion for Protective Order adn Opposition to Def's
                  Motion for Protective Order


               05/15/2017 Proof of Service 


                  Comment
                  by over night


               05/18/2017 Commission to Take Deposition Out-of-State 


                  Comment
                  Against Records Custodian, eAppeals LLC; Florida.


               05/18/2017 Commission to Take Deposition Out-of-State 


                  Comment
                  Against Records Custodian, eAppeals LLC; Florida.


               05/22/2017 Response/Reply 


                  Comment
                  Reply in SUpport of Mtn for Protective Order (Ian Chen) 6-13-17 D9


               05/22/2017 Declaration: In Support 


                  Comment
                  of Jonathan B. Pitt in support of Reply in SUpport of Mtn for Protective Order (Ian Chen) 6-13-17 D9


               05/22/2017 Proof of Service: Mail 


                  Comment
                  Overnight - Reply in SUpport of Mtn for Protective Order (Ian Chen) 6-13-17 D9


               06/01/2017 Minute Order


               06/01/2017 Hearing: Pro Hac Vice Counsel 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Hearing on Application of Nathaniel J. Kritzer to appear Pro Hac Vice by Plt (David Zifkin)


               06/01/2017 Reserved 




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                     11/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 13 of 58
               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Hearing on Application for Nathaniel Kritzer for Appear Pro Hac Vice for Plt (David Zifkin)


               06/01/2017 Hearing: Pro Hac Vice Counsel 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Hearing on Application of Barry S. Simon to Appear as Counsel Pro Hac Vice for Def Marc L. Abramowitz (Ian
               Chen)


               06/01/2017 Hearing: Pro Hac Vice Counsel 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Hearing on Application of Jonathan B. Pitt to Appear as Counsel Pro Hac Vice for Def Marc L. Abramowitz
               (Ian Chen)


               06/01/2017 Hearing: Pro Hac Vice Counsel 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Hearing on Applicatin of Stephen L. Wohlgmuth to Appear as Counsel Pro Hac Vice for Def Marc L.
               Abramowitz (Ian Chen)


               06/02/2017 Ex Parte Application - Notice Required 



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                 12/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 14 of 58
                  Comment
                  to file memo in sup fo def's demurrer in excess of 15 pgs (Ian Chen)


               06/02/2017 Proof of Service: Mail 


                  Comment
                  (Ian Chen)


               06/02/2017 Order 


                  Comment
                  Leave to file memorandum in excess of 15 pages and not to exceed 19 pages is granted by Judge
                  Arand


               06/02/2017 Order 


                  Comment
                  permiting Jay P. Lefkowitz to appear as counsel pro hac vice


               06/02/2017 Order 


                  Comment
                  for admission of Jonathan B. Pitt as Pro Hac Vice


               06/02/2017 Order 


                  Comment
                  admitting Barry S. Simon as Pro Hac Vice


               06/02/2017 Order 


                  Comment
                  admitting Stephen L. Wohlgemuth Pro Hac Vice


               06/02/2017 Order 


                  Comment
                  permitting Nathaniel J. Kritzer as Pro Hac Vice


               06/02/2017 Order 


                  Comment
                  permitting John T. Zach as Pro Hac Vice


               06/02/2017 Order 


                  Comment
                  permitting David Boies as Pro Hac Vice


               06/05/2017 Demurrer 


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                       13/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 15 of 58
                  Comment
                  Atty DiCanio, 08/03/2017, 9AM, D9


               06/05/2017 Memorandum: Points and Authorities 


                  Comment
                  In support of demurrer


               06/05/2017 Request: Judicial Notice 


                  Comment
                  In support of demurrer


               06/05/2017 Declaration: In Support 


                  Comment
                  Of Jonathan B. Pitt for demurrer


               06/05/2017 Declaration: In Support 


                  Comment
                  Of Ian Chen for demurrer


               06/05/2017 Proof of Service: Mail 


                  Comment
                  In support of demurrer


               06/05/2017 Court Reporter Fee < 1 hour 


                  Comment
                  In support of demurrer


               06/05/2017 Notice: Entry of Order


               06/05/2017 Proof of Service: Mail


               06/09/2017 Notice: Entry of Order


               06/09/2017 Proof of Service: Mail


               06/13/2017 Notice: Entry of Order


               06/13/2017 Proof of Service: Mail


               06/13/2017 Minute Order


               06/13/2017 Motion: Protective Order 


               Judicial Officer
               Stoelker, James L

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                               14/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 16 of 58
               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Motion for Protective Order regarding "Attorneys" eyes only provision precluding Def Marc L. Abramowitz from
               seeing confidential documets, Interrogs Responses and Deposition Testimony by Def Marc L.
               AbramowitzMarc L. Abramowitz Charitable Trust No.2 and KT4 Patners, LLC (Ian Chen)


               06/13/2017 Reserved: Discovery 


               Judicial Officer
               Stoelker, James L

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               mtn for protective ord by Plt Palantir Tech, Inc. (David Lipton) ab 4-20-17 310-752-2400


               06/13/2017 Motion: Protective Order 


               Judicial Officer
               Stoelker, James L

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Motion for Protective Order regarding highly confidential material and deposition testimony by Plt (Shira Liu)


               06/16/2017 Notice: Entry of Order


               06/16/2017 Proof of Service: Mail


               06/29/2017 Ex Parte Application - Notice Required 


                  Comment
                  to file memo in opp to defs' demurrer in excess of 15 pgs. (Kaitlyn Murphy)


               06/29/2017 Proof of Service: Personal 


                  Comment
                  (Kaitlyn Murphy)


               06/29/2017 Order 




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                     15/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 17 of 58
                  Comment
                  Plf is hereby GRANTED leave to file memo of p's and a's in sup of plfs opp to defs' demurrer not to
                  exceed 19 pgs in length/ the reply shall be no more than 10 pgs by Judge Arand


               06/30/2017 Notice: Entry of Order 


                  Comment
                  Granting Plaintiff's Ex Parte Application


               06/30/2017 Proof of Service: Mail 


                  Comment
                  Notice of Entry of Order Granting Plaintiff's Ex Parte Application


               07/03/2017 Opposition/Objections 


                  Comment
                  Opposition to Def's Demurrer to the Second Amended Complaint by Plt (Kaitlyn Murphy)


               07/03/2017 Opposition/Objections 


                  Comment
                  Opposition to Def's Request for Judicial Notice in support of Demurrer by Plt (Kaitlyn Murphy)


               07/03/2017 Proof of Service 


                  Comment
                  overnight


               07/18/2017 Motion: Protective Order 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               by Defs (Ian Chen )


               07/19/2017 Statement: Case Management Conference


               07/19/2017 Proof of Service


               07/20/2017 Motion: Protective Order 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                             16/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 18 of 58
               Result
               Continued: Court's Motion

               Comment
               Motion for Protective Order regarding "Attorneys" eyes only provision precluding Def Marc L. Abramowitz from
               seeing confidential documets, Interrogs Responses and Deposition Testimony by Def Marc L.
               AbramowitzMarc L. Abramowitz Charitable Trust No.2 and KT4 Patners, LLC (Ian Chen) *continued from
               06/13/17*


               07/20/2017 Motion: Protective Order 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Continued: Court's Motion

               Comment
               Motion for Protective Order regarding highly confidential material and deposition testimony by Plt (Shira Liu)
               *cotinued from 06/13/17*


               07/27/2017 Response/Reply 


                  Comment
                  in support ot demurrer to 2nd amended complaint (atty: Barry Simon) 8/3/17 D-9 @9


               07/27/2017 Response/Reply 


                  Comment
                  in support of req for judicial ntc 8/3/17


               07/27/2017 Proof of Service 


                  Comment
                  re: reply 8/3/17


               07/27/2017 Minute Order


               07/31/2017 Stipulation and Appointment of Official Reporter Pro Tempore 


                  Comment
                  Reporter Cambria Denlinger - signed by Judge Arand


               08/02/2017 Notice 


                  Comment
                  Regarding Parties' Submissions of Proposed Protective Orders


               08/02/2017 Proof of Service


               08/03/2017 Review: Case Status 

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                     17/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 19 of 58
               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Cancel Reason
               Vacated

               Comment
               Re: Status of Case Remanded from US Court.


               08/03/2017 Hearing: Demurrer 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               to the Second Amended Complaint by Def M. Abramowitz (Ian Chen)


               08/03/2017 Motion: Protective Order 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Regarding Highly Confidential Material & Deposition Testimony by Plt (Shira Liu) *C/F 06/13/17 & 07-20-17*


               08/03/2017 Motion: Protective Order 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Re: "Attorneys" Eyes Only Provision Precluding Def Marc L. Abramowitz from Seeing Cconfidential
               Docs/Interrogs Responses & Deposition Testimony by Def Marc L. Abramowitz and KT4 Patners, LLC (Ian
               Chen) *C/F 6/13/17 & 07-20-17*


               08/03/2017 Motion: Protective Order 


               Judicial Officer
               Arand, Mary E
https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                 18/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 20 of 58
               Hearing Time
               9:00 AM

               Result
               Vacated by Court

               Comment
               Mtn for protective order regarding "Attorneys" eyes only provision precluding Def Marc L. Abramowitz from
               seeing confidential documents, Interrogs Responses and Deposition Testimony by Def Marc L. Abramowitz
               Marc L. Abramowitz Charitable Trust No.2 and KT4 Partners, LLC (Ian Chen ) Ctd from 6-13 and 7-20-17


               08/03/2017 Motion: Protective Order 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Motion for Protective Order regarding highly confidential material and deposition testimony by Plt (Shira Liu)
               *continued from 06/13 and 7/20/17


               08/04/2017 Notice 


                  Comment
                  ntc. of [proposed] order governing the protection & exchange of confidential material.


               08/04/2017 Proof of Service: Electronic 


                  Comment
                  served ntc. of [proposed] protective order


               08/04/2017 Minute Order


               08/07/2017 Notice 


                  Comment
                  Regarding plt's submission of proposed protective order.


               08/07/2017 Proof of Service 


                  Comment
                  Ntc regarding plt's submission of proposed protective order.


               08/09/2017 Notice 


                  Comment
                  Regarding Plaintiff's Submission of Amended Proosed Protective Order


               08/09/2017 Proof of Service: Mail


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                     19/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 21 of 58
               08/18/2017 Notice: Entry of Order


               08/18/2017 Proof of Service: Mail


               09/07/2017 Answer: Amended Complaint 


                  Comment
                  to 2nd amended complaint. atty: Simon, Pitt and DiCanio


               09/07/2017 Proof of Service: Electronic


               09/08/2017 Order: Submitted Matter 


                  Judicial Officer             Comment
                  Arand, Mary E                Re: Demurrer to 2nd amended compl.


               10/30/2017 Statement: Case Management Conference


               10/30/2017 Proof of Service 


                  Comment
                  case management statement


               11/14/2017 Conference: Further Case Management 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held

               Comment
               Set per 8-3-17 minute.


               11/21/2017 Minute Order


               11/21/2017 Minute Order


               11/27/2017 Other


               12/22/2017 Stipulation and Order: Ex Parte 


                  Comment
                  for order setting a briefing schedule on Def's mtn for protective order is GRANTED. Def's mtn for
                  protective order shall be filed by 12/22/17. Mtn is set for 2/13/18. (Jack P. Dilanis & John T. Zach) Signed
                  by Judge Zayner *see for further details


               12/22/2017 Motion: Protective Order 


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                      20/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 22 of 58
                  Comment
                  02/13/2018 9:00am, D-9. Atty. DiCanio.


               12/22/2017 Memorandum: Points and Authorities


               12/22/2017 Lodged Under Seal 


                  Comment
                  Defendant's Memo. of P.'s and A.'s in Support for their Motion for a Protective Order.


               12/22/2017 Declaration 


                  Comment
                  of Stephen L. Wohlgemuth.


               12/22/2017 Lodged Under Seal 


                  Comment
                  Exhibit A to the Declaration of Stephen L. Wohlgemuth.


               12/22/2017 Notice 


                  Comment
                  of Lodging Documents Under Seal.


               12/22/2017 Proof of Service


               12/22/2017 Notice: Entry of Order 


                  Comment
                  Atty DiCanio


               12/22/2017 Proof of Service


               01/02/2018 Motion: Seal 


                  Comment
                  Ntc of mtn and mtn to seal. 03/13/2018 9:00am Dept. 9. Atty Zifkin


               01/02/2018 Proof of Service 


                  Comment
                  Ntc of mtn and mtn to seal


               01/12/2018 First Paper Filed - Fee 


                  Comment
                  Taken on Notice of Entry of Order


               01/16/2018 Opposition/Objections 


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                21/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 23 of 58
                  Comment
                  *REDACTED* to defs' mtn for protective order (David Zifkin) hrg 2/13/18 9am D-9


               01/16/2018 Lodged Under Seal 


                  Comment
                  opp to defs' mtn for protective order (David Zifkin) hrg 2/13/18 9am D-9


               01/16/2018 Declaration: In Opposition 


                  Comment
                  *REDACTED* (of Ronald Feldman) to defs' mtn for protective order (David Zifkin) hrg 2/13/18 9am D-9


               01/16/2018 Lodged Under Seal 


                  Comment
                  (of Ronald Feldman) dec in opp to defs' mtn for protective order (David Zifkin) hrg 2/13/18 9am D-9


               01/16/2018 Declaration: In Opposition 


                  Comment
                  to defs' mtn for protective order (David Zifkin) hrg 2/13/18 9am D-9


               01/16/2018 Proof of Service 


                  Comment
                  (David Zifkin) hrg 2/13/18 9am D-9


               01/16/2018 Motion: Seal 


                  Comment
                  Ntc of mtn and mtn to seal. 03/20/2018 9:00am Dept 9. Atty Zifkin


               01/16/2018 Motion: Seal 


                  Comment
                  ******STRICKEN per order on 3/9/20108****Ntc of mtn and mtn. 03/20/2018 9:00am Dept. 9 Atty Zifkin


               02/05/2018 Response/Reply 


                  Comment
                  ***REDACTED VERSION*** Reply in support of motion for protective order, 2-13-18 9am D-9, by atty
                  Casey.


               02/05/2018 Opposition/Objections 


                  Comment
                  ***REDACTED VERSION*** Opposition to motion to seal documents, 2-13-18 9am D-9, by atty Casey.


               02/05/2018 Lodged Under Seal 


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                             22/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 24 of 58
                  Comment
                  Reply in support of motion for protective order, 2-13-18 9am D-9, by atty Casey.


               02/05/2018 Lodged Under Seal 


                  Comment
                  Opposition to motion to seal, 2-13-18 9am D-9, by atty Casey.


               02/05/2018 Proof of Service 


                  Comment
                  Reply in support of motion for protective order, 2-13-18 9am D-9, by atty Casey.


               02/13/2018 Stipulation and Appointment of Official Reporter Pro Tempore 


                  Comment
                  Cambria Denlinger (Judge Arand) hrg 2/13/18 9am D-9


               02/13/2018 Reserved: Discovery 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               mtn for protective ord by Plt (David Zifkin) ab 12-04-17 310-752-2400


               02/13/2018 Motion: Protective Order 


               Original Type
               Motion: Protective Order

               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               by Defs Marc L. Abramowitz, Marc Abramowitz Charitable Trust No. 2 & KT4 Partners LLC (Jack P. DiCanio)
               *OST


               02/15/2018 Motion: Seal 


                  Comment
                  Motion to Seal; 4/03/18; 9 am; D9; Atty Zifkin


               02/15/2018 Proof of Service: Electronic

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                              23/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 25 of 58

               02/16/2018 Minute Order


               02/20/2018 Minute Order


               02/23/2018 Opposition/Objections 


                  Comment
                  DEFENDANTS??? OPPOSITION TO PLAINTIFF???S MOTION TO SEAL


               02/23/2018 Declaration: In Opposition 


                  Comment
                  DECLARATION OF WILLIAM J. CASEY IN SUPPORT OF DEFENDANTS??? OPPOSITON TO
                  PLAINTIFF???S MOTION TO SEAL


               02/23/2018 Proof of Service 


                  Comment
                  Proof of Service


               03/02/2018 Order 


                  Comment
                  Plt's Mtns to Seal are cont. from 3/13/18 & 3/20/18 to 4/3/18 9am D-9 on Court's own mtn. (Judge
                  Arand)


               03/05/2018 Statement: Case Management Conference 


                  Comment
                  Joint Case Management Statement


               03/05/2018 Proof of Service: Electronic 


                  Comment
                  Proof of Service


               03/09/2018 Request: Action 


                  Comment
                  Duplicate Motion to Seal filed on 1/16/2018. Duplicate filing will be stricken, GRANTED by Judge Arand.


               03/13/2018 Minute Order


               03/13/2018 Minute Order


               03/13/2018 Motion: Seal Records 


               Judicial Officer
               Pierce, Mark H



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                 24/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 26 of 58
               Hearing Time
               9:00 AM

               Result
               Continued: Court's Motion

               Comment
               Portions of of Defs' Memorandum & Exhibit A to the Declaration of Stephen L. Wohlgemuth in Support of their
               Mtn for Protective Order by Plt Palantir Technologies Inc. (John Zach) *Cont. to 4/3/18 per D-9 Order - md
               3/6/18*


               03/14/2018 Stipulation 


                  Comment
                  ****REJECTED***Stipulation and Appointment of Official Reporter Pro Tempore


               03/20/2018 Conference: Further Case Management 


               Original Type
               Conference: Further Case Management

               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held

               Comment
               Cont from 11-14-17.


               03/20/2018 Motion: Seal Records 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Motion to Seal Portions of Pt's Memo of P's & A's in Opposition to Def's Motionfor Protective Order and Exhibit
               A to the Declaration of Ronen Feldman in its enitrety by Plt (Kaitlyn Murphy)


               03/26/2018 Minute Order


               03/26/2018 Response/Reply 


                  Comment
                  Reply


               03/26/2018 Affidavit 



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                      25/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 27 of 58
                  Comment
                  Attorney Declaration/Affidavit


               03/26/2018 Proof of Service 


                  Comment
                  Proof of Service


               04/03/2018 Stipulation and Appointment of Official Reporter Pro Tempore 


                  Comment
                  Katherine Chok (Judge Arand) hrg 4/3/18 D-9


               04/03/2018 Motion: Seal Records 


               Original Type
               Motion: Seal Records

               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Portions of Defs Marc L. Abramowitz, Marc Abramowitz Charitable Trust No. 2 & KT4 Partners LLC's Reply in
               support of their Mtn for Protective Order and Portions of Def Omnibus' Opposition to Plt's Mtn to Seal by Plt
               Palantir Technologies Inc. (Shira Liu)


               04/03/2018 Motion: Seal Records 


               Original Type
               Motion: Seal Records

               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Portions of Plt's Memo in Opp to Def's Mtn for Protective Order and Exhibit A to the Declaration of Ronen
               Feldman by Plt Palantir Technologies, Inc. (Kaitlyn Murphy) *C/F 3/20/18 Per D-9 Order*


               04/03/2018 Motion: Seal Records 


               Original Type
               Motion: Seal Records

               Judicial Officer
               Arand, Mary E


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                    26/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 28 of 58
               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Portions of of Defs' Memorandum & Exhibit A to the Declaration of Stephen L. Wohlgemuth in Support of their
               Mtn for Protective Order by Plt Palantir Technologies Inc. (John Zach) *C/F 3/13/18 per D-9 Order*


               04/04/2018 Minute Order


               04/04/2018 Minute Order


               04/04/2018 Minute Order


               04/06/2018 Minute Order


               04/06/2018 Review: Case Status 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held

               Comment
               Re: Informal Discover Conference. Set from 3-20-18 minute.


               04/13/2018 Declaration 


                  Comment
                  Declaration of David Zifkin in Support of Plaintiff's Motions to Seal


               04/13/2018 Proof of Service: Electronic 


                  Comment
                  Proof of Service


               04/26/2018 Declaration 


                  Comment
                  Declaration of William J. Casey with Exhibits


               04/26/2018 Memorandum: Points and Authorities 


                  Comment
                  Memorandum of Points & Authorities


               04/26/2018 Notice 



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                  27/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 29 of 58
                  Comment
                  Notice of Lodging Documents Under Seal


               04/26/2018 Proof of Service 


                  Comment
                  Proof of Service


               04/26/2018 Motion: Protective Order 


                  Comment
                  5/18/2018 @ 9AM, D9. Atty Ruby


               04/26/2018 Lodged Under Seal 


                  Comment
                  Defendants' Memorandum of Points and Authorities in Support of Their Motion for A Protective Order


               04/26/2018 Lodged Under Seal 


                  Comment
                  Exhibit C to Declaration of William J. Casey


               04/26/2018 Lodged Under Seal 


                  Comment
                  Exhibit B to Declaration of William J. Casey


               05/07/2018 Statement: Case Management Conference 


                  Comment
                  Joint Case Management Statement


               05/07/2018 Proof of Service: Electronic


               05/07/2018 Opposition/Objections 


                  Comment
                  Plaintiff's Opposition to Defendants' Motion for a Protective Order


               05/07/2018 Declaration 


                  Comment
                  Declaration of Kaitlyn M. Murphy In Support Of Plaintiff's Opposition to Defendants' Motion for a
                  Protective Order


               05/07/2018 Motion: Seal 


                  Comment
                  Plaintiff's Notice of Motion and Motion to Seal; Memorandum of Points and Authorities In Support
                  Thereof; Declaration of David Zifkin; and Exhibits. Atty: David Boies. HD: 07/12/2018, 9am, D9

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                            28/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 30 of 58

               05/07/2018 Declaration: In Support 


                  Comment
                  Declaration of Akash Jain In Support Of Plaintiff's Motion to Seal


               05/11/2018 Response/Reply 


                  Comment
                  Defendants' Reply in Support of Their Motion for a Protective Order


               05/11/2018 Declaration 


                  Comment
                  Declaration of William J. Casey in Support of Reply to Motion for a Protective Order


               05/11/2018 Notice 


                  Comment
                  Notice of Lodging


               05/11/2018 Proof of Service 


                  Comment
                  Proof of Service


               05/14/2018 Lodged Under Seal 


                  Comment
                  Defendant's Reply in Support of their Motion for a Protective Order


               05/14/2018 Lodged Under Seal 


                  Comment
                  Exhibit E to the Declaration of William J. Casey in Support of Defendants' Reply Brief


               05/14/2018 Lodged Under Seal 


                  Comment
                  Exhibit F to the Declaration of William J. Casey in Support of Defendants' Reply Brief


               05/14/2018 Lodged Under Seal 


                  Comment
                  Exhibit H to the Declaration of William J. Casey in Support of Defendants' Reply Brief


               05/17/2018 Stipulation 


                  Comment
                  Stipulation for Appointment of Official Reporter Pro Tempore/Proposed Order



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                29/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 31 of 58
               05/18/2018 Minute Order


               05/18/2018 Stipulation and Appointment of Official Reporter Pro Tempore 


                  Comment
                  Katherine Chok (Judge Arand) hrg 5/18/18 D-9


               05/18/2018 Motion: Protective Order 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held

               Comment
               Motion for Protective Order by Defs Mark Abramowitz, et al (Jack DiCanio)


               05/21/2018 Motion: Seal 


                  Comment
                  Plaintiff's Notice of Motion and Motion to Seal; 7/17/18; 9 AM; D9; Atty Zifkin


               05/21/2018 Declaration: In Support 


                  Comment
                  of Akash Jain


               05/22/2018 Minute Order


               05/22/2018 Conference: Further Case Management 


               Original Type
               Conference: Further Case Management

               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held

               Comment
               2nd cont


               06/01/2018 Notice 


                  Comment
                  Notice of Lodging Under Seal



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                         30/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 32 of 58
               06/01/2018 Proof of Service


               06/04/2018 Lodged Under Seal 


                  Comment
                  [Proposed] Order Continuing the Stay of Discovery.


               06/04/2018 Clerk Rejection Letter 


                  Comment
                  RE: "Letter RE: Palantir's Trade Secret Disclosure". Document uploaded via E-File, does not match
                  document being lodged under seal over the counter


               06/05/2018 Other 


                  Comment
                  Letter Re: Palantir's Trade Secret Disclosure


               06/05/2018 Lodged Under Seal 


                  Comment
                  Letter RE: Plantir's Trade Secret Disclosure


               06/11/2018 Document: Other 


                  Comment
                  Letter RE: Palantir's trade secret disclosure


               06/15/2018 Hearing: Other 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               2:00 PM

               Result
               Held

               Comment
               Phone Conference Special Set per 5/18/18 M/O


               06/18/2018 Minute Order


               07/12/2018 Minute Order


               07/12/2018 Motion: Seal Records 


               Original Type
               Motion: Seal Records

               Judicial Officer
               Arand, Mary E

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                           31/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 33 of 58
               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Portions of Def Mark Abramowitz's Memo & Exhibits B-C to the Declaration of William Casey filed in Support
               of Def's Mtn for Protective Order by Plt Palantir Technologies Inc. (David Zifkin)


               07/17/2018 Minute Order


               07/17/2018 Motion: Seal Records 


               Original Type
               Motion: Seal Records

               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Portions of Def Mark Abramowitz's Reply & Exhibits E-F in Support of Def's Mtn for Protective Order by Plt
               Palantir Technologies Inc. (David Zifkin)


               08/20/2018 Statement: Case Management Conference 


                  Comment
                  Joint Case Management Statement


               09/04/2018 Filed Under Seal 


                  Comment
                  Def's Reply in Support of Their Motion for a Protective Order and Def's Opposition to Plt's Motion to
                  Seal.


               09/04/2018 Filed Under Seal 


                  Comment
                  Def's Memo of P's & A's in Support of Their Motion for a Protective Order and Exhibit A to the
                  Declaration of Stephen L. Wohlgemuth.


               09/04/2018 Filed Under Seal 


                  Comment
                  Plt's Opposition to Def's Motion for a Protective Order; Declaration of Ronen Feldman in Support of Plt's
                  Opposition to Def's Motion for a Protective Order; Plt's Opposition to Def's Motion for a Protective Order;
                  and Declaration of Ronen Feldman in Support of Plt's Opposition to Def's Motion for a Protective Order.


               09/04/2018 Minute Order


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                     32/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 34 of 58

               09/04/2018 Notice: Entry of Order 


                  Comment
                  Notice: Entry of Order


               09/04/2018 Order 


                  Comment
                  Plt's Mtn to Seal is GRANTED. (Judge Arand) hrg 4/3/18 9am D-9 *see for details **ncp/nsase/not e-filed


               09/04/2018 Order 


                  Comment
                  Defs' Mtn for a Protective Order Continuing the Stay of Discovery is GRANTED. (Judge Arand) hrg
                  5/18/18 9am D-9 *see for details **e-served


               09/04/2018 Conference: Further Case Management 


               Original Type
               Conference: Further Case Management

               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held

               Comment
               3rd cont


               10/31/2018 Ex Parte Application - Notice Required 


                  Comment
                  Application for setting a briefing schedule on def's motion for an anti-suit injunction, by atty Melius.


               10/31/2018 Proof of Service 


                  Comment
                  Application for setting a briefing schedule on def's motion for an anti-suit injunction, by atty Melius.


               10/31/2018 Ex Parte Application - Notice Required 


                  Comment
                  Application to file memorandum in support of def's motion for an anti-suit injunction in excess of 15
                  pages, by atty Melius.


               10/31/2018 Proof of Service 




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                  33/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 35 of 58
                  Comment
                  Application to file memorandum in support of def's motion for an anti-suit injunction in excess of 15
                  pages, by atty Melius.


               10/31/2018 Order: Ex Parte 


                  Comment
                  Application and stipulation for setting a briefing schedule on def's motion for an anti-suit injunction is
                  GRANTED; The Motion shall be filed by 11-05-18; The Opposition shall be filed by 12-12-18; and the
                  Reply is due by 01-08-19, signed Judge Arand.


               10/31/2018 Order: Ex Parte 


                  Comment
                  Application to file memorandum in support of def's motion for an anti-suit injunction in excess of 15
                  pages is GRANTED, signed Judge Arand.


               11/02/2018 Notice: Entry of Order 


                  Comment
                  Notice of Entry of order


               11/02/2018 Proof of Service 


                  Comment
                  Proof of Service


               11/02/2018 Notice: Entry of Order 


                  Comment
                  Notice of Entry of Order


               11/02/2018 Proof of Service 


                  Comment
                  Proof of Service


               11/05/2018 Motion: Other 


                  Comment
                  Notice of Motion & Motion for an Anti-Suit Injunction. 1/15/19 @ 9AM, D9. Atty DiCanio


               11/05/2018 Memorandum: Points and Authorities 


                  Comment
                  ***REDACTED*** Memo of P's & A's ISO Motion for Anti-Suit Injunction


               11/05/2018 Declaration: In Support 


                  Comment
                  of Stephen L. Wohlgemuth ISO Motion for an Anti-Suit Injunction

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                    34/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 36 of 58
               11/05/2018 Exhibit List (Party) 


                  Comment
                  ***REDACTED*** Exhibits A-Q ISO Dec. of Stephen L. Wohlgemuth ISO Motion for Anti-Suit Injunction


               11/05/2018 Order: Proposed 


                  Comment
                  ***PENDING***


               11/05/2018 Notice 


                  Comment
                  of Lodging Documents Under Seal


               11/05/2018 Memorandum: Points and Authorities 


                  Comment
                  ***CONDITIONALLY UNDER SEAL*** Memo of P's & A's ISO Motion for Anti-Suit Injunction


               11/05/2018 Exhibit List (Party) 


                  Comment
                  ***CONDITIONALLY UNDER SEAL*** Exhibits N, O, P to the Dec. of Stephen L. Wohlgemuth ISO MPA
                  ISO Anti-Suit Injunction


               11/05/2018 Proof of Service: Mail


               11/15/2018 Motion: Seal 


                  Comment
                  Notice of Motion & Motion to Seal. 2/14/19 @ 9AM, D9. Atty Zifkin


               11/15/2018 Declaration 


                  Comment
                  of Kaitlyn Murphy ISO Motion to Seal


               11/15/2018 Order: Proposed 


                  Comment
                  ***PENDING***


               12/12/2018 Memorandum: Points and Authorities 


                  Comment
                  in Opposition to Anti-Suit Injunction


               12/12/2018 Declaration



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                           35/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 37 of 58
               12/12/2018 Declaration


               12/12/2018 Order: Proposed 


                  Comment
                  Proposed Order


               12/18/2018 Motion: Other 


                  Comment
                  Motion for an Informal Discovery Conference; 3/26/19; 9 am; D9; Atty Zifkin


               12/18/2018 Order: Proposed 


                  Comment
                  ***PENDING***


               12/19/2018 Response/Reply 


                  Comment
                  HRG 3/26/2019 Defendants' Response To Palantir's Motion For An Informal Discovery Conference;
                  Declaration Of Stephen L. Wohlgemuth; Proof Of Service


               12/31/2018 Statement: Case Management Conference 


                  Comment
                  Joint Case Management Statement


               01/08/2019 Notice of Hearing (no fee) 


                  Comment
                  Plaintiff's Amended Notice of Motion and Unopposed Motion to Seal


               01/08/2019 Order: Proposed 


                  Comment
                  Proposed Order Granting Plaintiff's Amended Motion to Seal


               01/08/2019 Response/Reply 


                  Comment
                  Reply in Support of Their Motion for an Anti-Suit Injunction - PUBLIC VERSION


               01/08/2019 Declaration: In Support 


                  Comment
                  of Stephen L. Wohlgemuth In Support of Defendants' Reply in Support of Their Motion for an Anti-Suit
                  Injunction


               01/08/2019 Notice 

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                              36/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 38 of 58
                  Comment
                  of Lodging Under Seal


               01/08/2019 Lodged Under Seal 


                  Comment
                  HRG 1/15/19 Lodged Under Seal (Unredacted) Reply in Support of Their Motion for an Anti-Suit
                  Injunction


               01/08/2019 Proof of Service: Electronic


               01/14/2019 Opposition/Objections 


                  Comment
                  HRG 2/14/19 Defendants??? Opposition to Plaintiff???s Amended Motion to Seal


               01/14/2019 Declaration 


                  Comment
                  HRG 2/14/19 Declaration of Stephen L. Wohlgemuth in support of Defendants??? Opposition to
                  Plaintiff???s Amended Motion to Seal


               01/14/2019 Proof of Service 


                  Comment
                  HRG 2/14/19 Proof of Service


               01/15/2019 Conference: Further Case Management 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held


               01/15/2019 Hearing: Other 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Motion for an Anti-Suit Injunction by Defendants Marc L. Abramowitz, Marc Abramowitz Charitable Trust No.
               2, and KT4 Partners LLC (Bill Casey)


               01/16/2019 Minute Order


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                37/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 39 of 58
               01/16/2019 Minute Order


               01/18/2019 Minute Order


               01/18/2019 Minute Order


               01/28/2019 Stipulation and Appointment of Official Reporter Pro Tempore 


                  Comment
                  DENIED as unnecessary by Judge Arand


               01/31/2019 Notice 


                  Comment
                  HRG 2-5-19 Request for Appointment of Official Reporter Pro Tempore


               02/05/2019 Minute Order


               02/05/2019 Minute Order


               02/05/2019 Stipulation and Appointment of Official Reporter Pro Tempore 


                  Comment
                  re: reporter Cambria Denlinger for 2-5-19 hearing - GRANTED by Judge Williams


               02/05/2019 Hearing: OSC TRO/Preliminary Injunction 


               Judicial Officer
               Williams, Helen E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Anti-Suit Injunction.


               02/06/2019 Response/Reply 


                  Comment
                  Plaintiff's Reply in Support of Amended Motion to Seal


               02/06/2019 Proof of Service 


                  Comment
                  Proof of Service


               02/07/2019 Stipulation and Appointment of Official Reporter Pro Tempore 




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                       38/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 40 of 58
                  Comment
                  Request for Appointment of Official Reporter Pro Tempore WFP J1LM SUB 2/21/19


               02/13/2019 Stipulation and Order 


                  Comment
                  ***PENDING*** WFP J1 CAL 3/11/19


               02/13/2019 Proof of Service: Personal 


                  Comment
                  Proof of Service


               02/13/2019 Notice 


                  Comment
                  Letter re Oral Argument on Defendants??? Motion for an Anti-Suit Injunction


               02/13/2019 Proof of Service 


                  Comment
                  Proof of Service


               02/14/2019 Hearing: Other 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Motion to Seal by Plaintiff Palantir Technologies Inc. (David Zifkin)


               02/15/2019 Response/Reply 


                  Comment
                  Plaintiff's Reply to Defendants' Letter Re: Oral Argument on Defendants' Motion for an Anti-Suit
                  Injunction


               02/15/2019 Declaration 


                  Comment
                  Supplemental Declaration of Wolrad Prinz Zu Waldeck Und Pyrmont


               02/15/2019 Proof of Service 


                  Comment
                  Proof of Service



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                          39/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 41 of 58
               02/22/2019 Minute Order


               02/22/2019 Hearing: Discovery 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held

               Comment
               Informal Discovery Conference *Set per 1/15/19 MO*


               02/28/2019 Exhibit List (Party) 


                  Comment
                  Exhibits N, O, and P to the Declaration of Stephen L. Wohlgemuth in Support of Defendants???
                  Memorandum of Points and Authorities in Support of Their Motion for an Anti-Suit Injunction


               02/28/2019 Proof of Service 


                  Comment
                  Proof of Service


               03/04/2019 Stipulation and Order 


                  Comment
                  [Proposed] *PENDING SIGNATURE*


               03/12/2019 Clerk Rejection Letter 


                  Comment
                  env #02564478- stip/order to strike- $20.00 filing fee is required to file this document. LQM


               03/12/2019 Stipulation and Order 


                  Comment
                  ***PENDING***


               03/12/2019 Proof of Service: Electronic


               03/21/2019 Notice 


                  Comment
                  RE: Lodging Documents Under Seal


               03/21/2019 Motion: Protective Order 




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                       40/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 42 of 58
                  Comment
                  Atty, DiCanio 4/26/2019, 10AM, D9


               03/21/2019 Memorandum: Points and Authorities 


                  Comment
                  ***REDACTED***Memo P's & A's ISO Motion for Protective Order


               03/21/2019 Memorandum: Points and Authorities 


                  Comment
                  ***CONDITIONALLY UNDER SEAL***Memo of P's & A's ISO Motion for Protective Order


               03/21/2019 Declaration: In Support 


                  Comment
                  RE: Niels J. Melius


               03/21/2019 Exhibit List (Party) 


                  Comment
                  ***REDACTED***Exhibits A-K to the Declaration of Niels J. Melius ISO Memo of P's & A's ISO Motion
                  for Protective Order


               03/21/2019 Exhibit List (Party) 


                  Comment
                  ***CONDITIONALLY UNDER SEAL***Exhibits D, E, F, and K to the Declaration of Niels J. Melius ISO
                  Memo of P's & A's ISO Motion for Protective Order


               03/21/2019 Order: Proposed 


                  Comment
                  ***PENDING***


               03/21/2019 Proof of Service: Electronic


               03/26/2019 Hearing: Other 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Motion for Informal Discovery Conference by Plaintiff Palantir Technologies, Inc. (Atty John T. Zach)


               04/02/2019 Motion: Seal 


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                            41/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 43 of 58
                  Comment
                  Portions of the Motion for Protective Order, Atty Zifkin, 6/4/19, 9AM, D9


               04/02/2019 Declaration: In Support 


                  Comment
                  Hrg 06/04/19 - 0F AKASH JAIN IN SUPPORT OF PLAINTIFF'S MOTION TO SEAL


               04/02/2019 Order: Proposed 


                  Comment
                  ***PENDING***


               04/02/2019 Proof of Service: Electronic 


                  Comment
                  re 06/04/19 hrg


               04/09/2019 Motion: Seal 


                  Comment
                  Portions of the Opposition to the Mtn for Protective Order - 06/04/19 9AM D. 9 atty Zach


               04/09/2019 Declaration: In Support 


                  Comment
                  Hrg 06/04/19 - of Akash Jain in Support of Mtn to Seal


               04/09/2019 Order: Proposed 


                  Comment
                  ***pending***[Proposed] Order Granting Plaintiff's Motion to Seal q to LM1 04/16/19


               04/09/2019 Memorandum: Points and Authorities 


                  Comment
                  in Opposition of Defendants' Motion for a Protective Order - PUBLIC


               04/09/2019 Memorandum: Points and Authorities 


                  Comment
                  IN OPPOSITION OF DEFENDANTS' MOTION FOR A PROTECTIVE ORDER - UNDER SEAL


               04/09/2019 Declaration: In Support 


                  Comment
                  Hrg 04/26/19 - OF JOHN T. ZACH


               04/09/2019 Order: Proposed 



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                  42/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 44 of 58
                  Comment
                  ***pending***[PROPOSED] ORDER DENYING DEFENDANTS' MOTION FOR A PROTECTIVE ORDER
                  q to LM1 04/16/19


               04/09/2019 Proof of Service: Electronic 


                  Comment
                  re 06/04/19 hrg


               04/17/2019 Notice 


                  Comment
                  HRG 04-26-19 Notice of Lodging Under Seal


               04/17/2019 Lodged Under Seal 


                  Comment
                  HRG 04-26-19 SEALED VERSION Defendants' Reply Brief in Support of Their Motion for a Protective
                  Order


               04/17/2019 Response/Reply 


                  Comment
                  HRG 04-26-19 REDACTED Defendants' Reply Brief in Support of Their Motion for a Protective Order


               04/17/2019 Proof of Service 


                  Comment
                  HRG 04-26-19 Proof of Service


               04/26/2019 Minute Order


               04/26/2019 Minute Order


               04/26/2019 Request 


                  Comment
                  HRG 4/26/19 for Appointment of Official Reporter Pro Tempore- Signed by Judge Arand


               04/26/2019 Hearing: Discovery 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held

               Comment
               Motion for Trade Secret Protective Order by Defendant *Set per 2/22/19 MO*



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                         43/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 45 of 58

               04/29/2019 Motion: Seal 


                  Comment
                  06/04/19 9AM D. 9 atty Zach; Portions of Defs' Reply In Support of Their Motion for a Protective Order


               04/29/2019 Order: Proposed 


                  Comment
                  ***pending*** [Proposed] Order Granting Plaintiff's Motion to Seal


               04/29/2019 Proof of Service: Electronic 


                  Comment
                  re 06/04/19 hrg


               05/03/2019 Order: Submitted Matter 


                  Judicial Officer
                  Williams, Helen E

                  Comment
                  Vacating Submission, and Providing for Resubmission as of 2-15-19. Signed by Judge Williams.


               05/07/2019 Order: Proposed


               05/07/2019 Proof of Service: Electronic


               05/08/2019 Order: Submitted Matter 


                  Judicial Officer            Comment
                  Arand, Mary E               RE: Defendants' Motion for a Protective Order- DENIED by Judge Arand



               05/08/2019 Order 


                  Comment
                  Protective Order Governing the Protection and Exchange of Confidential Material- Signed by Judge
                  Arand


               05/20/2019 Statement: Case Management Conference 


                  Comment
                  Case Management Statement


               05/20/2019 Motion: Seal 


                  Comment
                  Second Amended Trade Secret Disclosure - 07/25/19 9AM D. 9 atty Zifkin


               05/20/2019 Notice 



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                44/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 46 of 58
                  Comment
                  Notice of Filing Palantir's Second Amended Trade Secret Disclsoure Pursuant to Code Civ. Proc.
                  2019.210


               05/20/2019 Statement 


                  Comment
                  Plaintiff's Second Amended Trade Secret Disclosure Pursuant to Code Civ. Proc. 2019.210


               05/20/2019 Statement 


                  Comment
                  Plaintiff's Second Amended Trade Secret Disclosure Pursuant to Code Civ. Proc. 2019.210


               05/20/2019 Order: Proposed 


                  Comment
                  ***pending*** [PROPOSED] ORDER GRANTING PLAINTIFF'S MOTION TO SEAL


               05/20/2019 Proof of Service: Electronic 


                  Comment
                  RE 07/25/19 HRG


               05/20/2019 Proof of Service: Electronic


               05/21/2019 Order: Submitted Matter 


                  Judicial Officer            Comment
                  Williams, Helen E           re: Order Denying Defendants' Motion for an Anti-Suit Injunction



               06/03/2019 Notice of Appeal - Court of Appeal 


                  Comment
                  5/21/19


               06/03/2019 Proof of Service: Electronic


               06/04/2019 Conference: Further Case Management 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held


               06/04/2019 Motion: Seal Records 




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                        45/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 47 of 58
               Original Type
               Motion: Seal Records

               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Opposition to Motion for Protective Order by Plaintiff Palantir Technologies (John Zach)


               06/04/2019 Motion: Seal Records 


               Original Type
               Motion: Seal Records

               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Portions of Mtn for Protective Order by Plaintiff Palantir Technologies, Inc. (David Zifkin)


               06/04/2019 Motion: Seal Records 


               Original Type
               Motion: Seal Records

               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Defendant's Reply in Support of Mtn for Protective Order by Plaintiff Palantir Technologies, Inc. (John Zach)


               06/05/2019 Minute Order


               06/05/2019 Minute Order


               06/05/2019 Minute Order


               06/05/2019 Minute Order


               06/07/2019 Notice: Association/Co-Counsel



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                    46/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 48 of 58
               06/07/2019 Proof of Service


               06/10/2019 Appeal: Clerk's Notice of Appeal


               06/13/2019 Designation: Appellant


               06/13/2019 Proof of Service: Electronic


               06/20/2019 Notice 


                  Comment
                  of Filing of Amended Proposed Orders Granting Palantir's Motions to Seal Materials Relating to
                  Defendants' Motion for a Protective Order


               06/27/2019 Motion: Leave 


                  Comment
                  09/24/19 9AM D. 9 atty Hueston - TO FILE THIRD AMENDED COMPLAINT


               06/27/2019 Declaration: In Support 


                  Comment
                  Hrg 09/24/19 - of Yegor Fursevich in Support of Motion for Leave


               07/01/2019 Appeal: Appellant's Default Notice 


                  Comment
                  H047003


               07/09/2019 Deposit: Clerk's Transcript 


                  Comment
                  H047003 - $100 deposited by check


               07/09/2019 Deposit: Reporter's Transcript 


                  Comment
                  $80 paid for half day , plus $50 deposited for fee ; both by check


               07/18/2019 Appeal: Clerk's Certificate of Compliance 


                  Comment
                  H047003


               07/18/2019 Appeal: Notice to Court Reporter 


                  Comment
                  H047003


               07/25/2019 Minute Order

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                        47/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 49 of 58
               07/25/2019 Motion: Seal Records 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               RE Final Disclosure by Plaintiff Palantir Tech (David Zifkin)


               07/26/2019 Motion: Compel 


                  Comment
                  10/31/19 9AM D. 9 atty Hueston NOTICE OF MOTION AND MOTION TO COMPEL FURTHER
                  RESPONSES TO DISCOVERY REQUESTS


               07/26/2019 Separate Statement 


                  Comment
                  SEPARATE STATEMENT IN SUPPORT OF PLAINTIFF PALANTIR TECHNOLOGIES INC. S MOTION
                  TO COMPEL FURTHER RESPONSES TO FORM INTERROGATORIES FROM DEFENDANTS MARC
                  L. ABRAMOWITZ AND KT4 PARTNERS, LLC


               07/26/2019 Separate Statement 


                  Comment
                  SEPARATE STATEMENT IN SUPPORT OF PLAINTIFF PALANTIR TECHNOLOGIES INC. S MOTION
                  TO COMPEL FURTHER RESPONSES TO SECOND SETS OF SPECIAL INTERROGATORIES FROM
                  DEFENDANTS MARC L. ABRAMOWITZ AND KT4 PARTNERS, LLC


               07/26/2019 Separate Statement 


                  Comment
                  IN SUPPORT OF MOTION TO COMPEL FURTHER RESPONSES TO SECOND SETS OF REQUESTS
                  FOR PRODUCTION OF DOCUMENTS FROM DEFENDANTS MARC L. ABRAMOWITZ AND KT4
                  PARTNERS, LLC


               07/26/2019 Declaration: In Support 


                  Comment
                  DECLARATION OF YAHOR FURSEVICH


               07/26/2019 Declaration: In Support 


                  Comment
                  DECLARATION OF JOHN T. ZACH


               07/26/2019 Appendix 



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                        48/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 50 of 58
                  Comment
                  APPENDIX OF EXHIBITS TO THE DECLARATION OF YAHOR FURSEVICH IN SUPPORT OF
                  PLAINTIFF PALANTIR TECHNOLOGIES INC.'S MOTION TO COMPEL FURTHER RESPONSES TO
                  DISCOVERY REQUESTS


               07/30/2019 Ex Parte Application - Notice Required 


                  Comment
                  fo ran Order to advanced Hearing on Motion to Compel by Plt (Yahor Fursevich)


               07/30/2019 Declaration 


                  Comment
                  of Yahor Fursevich in support of Plt's Ex Parte application


               07/30/2019 Ex Parte Application - Notice Required 


                  Comment
                  for an Order to Seal Exhibits to the Decl of Yegor Fursevich)


               07/30/2019 Declaration


               07/30/2019 Opposition/Objections 


                  Comment
                  to Plt's Ex Parte Application for an order to advanced hearing date on Motion to Compel by Def (Allen
                  Ruby)


               07/30/2019 Proof of Service: Electronic


               07/30/2019 Opposition/Objections 


                  Comment
                  to Plt's Ex Parte Application for an Order to Seal Exhibit to the Decl of Yegor Fursevich in support of
                  Motion for Leave to file third amended complaint by Def (Allen Ruby)


               07/30/2019 Proof of Service: Electronic


               07/30/2019 Order: Ex Parte 


                  Comment
                  Denying Plt's Ex Parte application to advance Motion to Compel by Judge Arand


               07/30/2019 Order: Ex Parte 


                  Comment
                  Denying Plt's Ex Parrte application for an Order to Seal Exhibit by Judge Arand


               08/06/2019 Notice 




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                 49/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 51 of 58
                  Comment
                  NOTICE OF FILING AMENDED PROPOSED ORDERS GRANTING PALANTIR TECHNOLOGIES INC.
                  S MOTIONS TO SEAL


               08/06/2019 Order: Proposed 


                  Comment
                  Amended **PENDING**


               08/06/2019 Order: Proposed 


                  Comment
                  Amended **PENDING**


               08/06/2019 Order: Proposed 


                  Comment
                  Amended **PENDING**


               08/06/2019 Order: Proposed 


                  Comment
                  Amended **PENDING**


               08/07/2019 Ex Parte Application 


                  Comment
                  to Advance Hearing Date on Palantir's Motion to Seal Appendix of Exhibits to the Declaration of Yegor
                  Fursevich Filed in Support of Palantir's Motion for Leave to File a Third Amended Complaint (Yahor
                  Fursevich)


               08/07/2019 Declaration: In Support 


                  Comment
                  of Yahor Fursevich (Yahor Fursevich)


               08/07/2019 Opposition/Objections 


                  Comment
                  to Plaintiff's Ex Parte Application to Advance the Hearing Date on Its Motion to Seal Appendix of Exhibits
                  to the Declaration of Yegor Fursevich Filed in Support of Palantir's Motion for LEave to File a Third
                  Amended Complaint (Jack P. Dicanio)


               08/07/2019 Proof of Service: Electronic


               08/07/2019 Order: Ex Parte 


                  Comment
                  Granting Application to Adavance Hearing Date on Palantir's Motion to Seal Appendix of Exhibits to the
                  Declaration of Yegor Fursevich Filed in SUpport of Palantir's Motion for Leave to File a Third Amended
                  Complaint- Signed by Judge Arand


https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                    50/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 52 of 58
               08/07/2019 Notice 


                  Comment
                  of Hearing: Informal Discovery Conference- Signed by Judge Arand


               08/08/2019 Notice 


                  Comment
                  NOTICE OF FILING PROPOSED ORDER GRANTING PLAINTIFF PALANTIR TECHNOLOGIES INC. S
                  MOTION TO SEAL APPENDIX OF EXHIBITS TO THE DECLARATION OF YEGOR FURSEVICH FILED
                  IN SUPPORT OF PALANTIR S MOTION FOR LEAVE TO FILE A THIRD AMENDED COMPLAINT


               08/09/2019 Notice 


                  Comment
                  Notice of withdrawal of attorney of record David L. Zifkin, Boies Schiller Flexner LLP


               08/09/2019 Proof of Service 


                  Comment
                  Notice of Withdrawl of Attorney of Record


               08/12/2019 Clerk Rejection Letter 


                  Comment
                  env #03222379- mtn to seal- this hearing date has been vacated.


               08/15/2019 Motion: Seal 


                  Comment
                  RE: MOTION TO SEAL APPENDIX OF EXHIBITS // Atty Hueston, 9-12-19, 9AM, D9


               08/15/2019 Declaration: In Support 


                  Comment
                  Hrg 09/12/19 - OF YAHOR FURSEVICH IN SUPPORT OF MTN TO SEAL


               08/29/2019 Opposition/Objections 


                  Comment
                  Hrg 09/12/19 - to Motion to Seal Appendix of Exhibits


               08/29/2019 Proof of Service 


                  Comment
                  re 09/12/19 Oppositioin


               08/30/2019 Brief 


                  Comment
                  DEFENDANTS' INFORMAL DISCOVERY CONFERENCE BRIEF

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                51/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 53 of 58

               08/30/2019 Proof of Service: Electronic


               08/30/2019 Statement 


                  Comment
                  PLAINTIFF PALANTIR TECHNOLOGIES INC.'S INFORMAL DISCOVERY CONFERENCE
                  STATEMENT


               09/05/2019 Response/Reply 


                  Comment
                  in Support of Motion to Seal Appendix of Exhibits to The Declaratoin of Yegor Fursevich Filed in Support
                  of Palantir's Motion for Leave to File a Third Amended Complaint


               09/06/2019 Minute Order


               09/06/2019 Hearing: Discovery 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:30 AM

               Result
               Held

               Comment
               Informal Discovery Conference *Set per Notice of Hearing 8/07/19*


               09/11/2019 Memorandum: Points and Authorities 


                  Comment
                  Defendants' Memorandum of Points & Authorities in Opposition to Plaintiff Palantir Technologies Inc.'s
                  Motion for Leave to File Third Amended Complaint


               09/11/2019 Declaration 


                  Comment
                  Declaration of Stephen L. Wohlgemuth in Support of Defendants' Memorandum of Points and Authorities
                  in Opposition to Plaintiff Palantir Technologies Inc.'s Motion for Leave to File Third Amended Complaint


               09/11/2019 Exhibit List (Party) 


                  Comment
                  Exhibits A - D to the Declaration of Stephen L. Wohlgemuth in Support of Defendants' Memorandum of
                  Points and Authorities in Opposition to Plaintiff Palantir Technologies Inc.'s Motion for Leave to File Third
                  Amended Complaint


               09/11/2019 Proof of Service 


                  Comment
                  Proof of Service

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                       52/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 54 of 58

               09/12/2019 Minute Order


               09/12/2019 Request 


                  Comment
                  HRG 9/12/19 for Appointment of Official Reporter Pro Tempore- Signed by Judge Arand


               09/12/2019 Motion: Seal Records 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Appendix of Exhibits to the Declaration of Yegor Fursevich by Plaintiff Palantir Technologies, Inc. *Set per
               8/07/19 Ex Parte Order*


               09/13/2019 Appeal: Notice of Completion 


                  Comment
                  H047003


               09/13/2019 Appeal: Receipt for Record 


                  Comment
                  H047003


               09/16/2019 Statement: Case Management Conference 


                  Comment
                  Joint Case Management Statement


               09/17/2019 Appeal: Receipt for Record 


                  Comment
                  from DCA (H047003)


               09/17/2019 Response/Reply 


                  Comment
                  Hrg. 9/24/19; PLAINTIFF PALANTIR TECHNOLOGIES INC. S REPLY IN SUPPORT OF ITS MOTION
                  FOR LEAVE TO FILE THIRD AMENDED COMPLAINT


               09/17/2019 Notice 


                  Comment
                  Notice of Withdrawal

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                   53/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 55 of 58

               09/17/2019 Proof of Service 


                  Comment
                  Proof of Service


               09/19/2019 Notice 


                  Comment
                  OF FILING OF PROPOSED ORDER


               09/20/2019 Request 


                  Comment
                  HRG 9/24/19 for Appointment of Official Reporter Pro Tempore- Signed by Judge Arand


               09/23/2019 Appeal: Receipt for Record 


                  Comment
                  from Jack P. DiCanio (H047003)


               09/24/2019 Minute Order


               09/24/2019 Request 


                  Comment
                  HRG 9/24/19 for Appointment of Official Reporter Pro Tempore- Signed by Judge Arand


               09/24/2019 Motion: Leave to File 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Result
               Held

               Comment
               Third Amended Complaint by Plaintiff Palantir Technologies, Inc. (John Hueston)


               09/30/2019 Separate Statement 


                  Comment
                  Amended Separate Statement in Support of Plaintiff Palantir Technologies Inc.'s Motion to Compel
                  Further Responses to Second Sets of Requests for Production of Documents From Defendants Marc L.
                  Abramowitz and KT4 Partners, LLC


               09/30/2019 Separate Statement 


                  Comment
                  Amended Separate Statement in Support of Plaintiff Palantir Technologies Inc.'s Motion to Compel
                  Further Responses to Form Interrogatories From Defendants Marc L. Abramowitz and KT4 Partners,
https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                          54/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 56 of 58
                  LLC


               09/30/2019 Separate Statement 


                  Comment
                  Amended Separate Statement in Support of Plaintiff Palantir Technologies Inc.'s Motion to Compel
                  Further Responses to Second Sets of Special Interrogatories From Defendants Marc L. Abramowitz and
                  KT4 Partners, LLC


               09/30/2019 Notice 


                  Comment
                  OF FILING OF PROPOSED ORDER GRANTING PALANTIR TECHNOLOGIES INC. S MOTION FOR
                  LEAVE TO FILE THIRD AMENDED COMPLAINT


               10/01/2019 Minute Order


               10/01/2019 Conference: Further Case Management 


               Original Type
               Conference: Further Case Management

               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM

               Result
               Held


               10/03/2019 Reserved 


               Judicial Officer
               Monahan, William

               Hearing Time
               9:00 AM

               Cancel Reason
               Vacated

               Comment
               Mtn. to Seal An Exhibit by Plt. (Yahor Fursevich) Marina 213-788-4340 TT 08/02/19


               10/16/2019 Order After Hearing - POS 


                  Comment
                  Granting Palantir's Motion for Leave to File Third Amended Complaint- Signed by Judge Arand


               10/17/2019 Order 


                  Comment
                  Denying Plt. Palantir Technologies Inc.'s Mtn. to Seal Appendix of Exhibits



https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                            55/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
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               10/18/2019 Amended Complaint Filed - No Fee 


                  Comment
                  THIRD AMENDED


               10/18/2019 Appendix 


                  Comment
                  Amended Appendix of Exhibits to the Declaration of Yegor Fursevich In Support of Plaintiff Palantir
                  Technologies Inc.'s Motion For Leave to File a Third Amended Complaint


               10/18/2019 Opposition/Objections 


                  Comment
                  Defendants' Opposition to Plaintiff Palantir Technologies Inc.'s Motion to Compel Further Responses to
                  Discovery Requests and Responses to Palantir's Amended Separate Statements


               10/18/2019 Proof of Service 


                  Comment
                  Proof of Service


               10/31/2019 Motion: Compel 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               9:00 AM

               Comment
               Further Discovery Responses by Plaintiff Palantir Technologies, Inc. (John Hueston)


               03/17/2020 Conference: Further Case Management 


               Judicial Officer
               Arand, Mary E

               Hearing Time
               10:00 AM




             Documents

https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                                                                56/57
10/21/2019           Case 5:19-cv-06879-BLF Document 1-2Details
                                                           Filed 10/22/19 Page 58 of 58

               Complaint

               Summons

               Civil Case Cover Sheet
               Notice

               Notice

               Application or Renewal to Appear Pro Hoc Vice

               Application or Renewal to Appear Pro Hoc Vice

               Application or Renewal to Appear Pro Hoc Vice
               Application or Renewal to Appear Pro Hoc Vice

               Application or Renewal to Appear Pro Hoc Vice

               Application or Renewal to Appear Pro Hoc Vice

               Amended Complaint - Claim Amount Unchanged (No Fee)

               Proof of service
               Order Deeming Case Not Complex




https://cmportal.scscourt.org/Portal/Home/WorkspaceMode?p=0                               57/57
